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 7

 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                             CASE NO. 2:20-CR-25-WBS
11                                  Plaintiff,             STIPULATION REGARDING SCHEDULE
                                                           FOR SUPPLEMENTAL BRIEFING RE
12                            v.                           DEFENDANTS’ JOINT MOTION TO SUPPRESS;
                                                           ORDER
13   LUIS HERNANDEZ GUZMAN,
     FERNANDA AYALA ZAMORA,
14
                                   Defendants.
15

16

17                                                STIPULATION

18           Plaintiff United States of America, by and through its counsel of record, and the defendants, by

19 and through their respective counsel of record, hereby stipulate as follows:
20           1.       At the February 12, 2024 hearing on defendants’ Joint Motion to Suppress, the Court

21 ordered supplemental briefing on the matter of consent to search a vehicle, with defendants’

22 supplemental brief due on February 19, 2024, and the government’s responsive brief due on February

23 26, 2024. ECF No. 83.

24           2.       The Court set the evidentiary hearing for the defendants’ motion on April 24, 2024. ECF

25 No. 88.

26           3.       Counsel for the government has required additional time to research and complete its

27 response to the defendants’ supplemental brief, which was filed on February 19. ECF No. 86. As a

28 result, the government requests an additional two days to file its brief and requests that the Court accept

      STIPULATION RE BRIEFING SCHEDULE                    1
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 1 it as timely if filed on or before February 28, 2024.

 2          4.       The government contacted counsel for both defendants who have indicated that they do

 3 not object to the government’s being granted two additional days to file its brief.

 4          5.       Accordingly, by this stipulation, the parties jointly request that the Court re-set the

 5 remaining schedule and order that the government’s response to the defendants’ Supplemental Brief In

 6 Support of Joint Motion to Suppress shall be filed on or before February 28, 2024.

 7          IT IS SO STIPULATED,

 8 Dated: February 27, 2024                                    PHILLIP A. TALBERT
                                                               United States Attorney
 9

10                                                             /s/ JAMES R. CONOLLY
                                                               JAMES R. CONOLLY
11                                                             Assistant United States Attorney

12
     Dated: February 27, 2024                                  /s/ CHRISTINA SINHA
13                                                             CHRISTINA SINHA
                                                               Assistant Federal Defender
14                                                             Counsel for Defendant
15                                                             LUIS HERNANDEZ GUZMAN

16 Dated: February 27, 2024                                    /s/ OLAF HEDBERG
                                                               OLAF HEDBERG
17                                                             Counsel for Defendant
                                                               FERNANDA AYALA-ZAMORA
18

19
                                                       ORDER
20
            Based upon the stipulation and representations of the parties, the Court adopts the following as a
21
     revised briefing schedule regarding the supplemental briefing regarding defendants’ motion to suppress:
22
     The government’s response to the defendants’ Supplemental Brief In Support of Joint Motion to
23
     Suppress shall be filed on or before February 28, 2024.
24
            IT IS SO FOUND AND ORDERED.
25
     Dated: February 28, 2024
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      STIPULATION RE BRIEFING SCHEDULE                     2
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